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                                         (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)



InnoMemory, LLC                                                                             SIMPLY NUC, INC.


                        (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)




              (Firm Name, Address, and Telephone Number)                                                   (If Known)
Rabicoff Law LLC
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7736694590
                                      (Place an X in One Box Only)                                                                                      (Place an X in One Box for Plaintiff
                                                                                         (For Diversity Cases Only)                                         and One Box for Defendant)

                                      (U.S. Government Not a Party)                                                                                 or


                                                                                                                                                    and
                                      (Indicate Citizenship of Parties in Item III)




                            (Place an X in One Box Only)




            (Place an X in One Box Only)


                                                                                                               (specify)
                                                                                        (Do not cite jurisdictional statutes unless diversity)
                                 35 U.S.C. 271, et seq.

                                 Patent infringement



                                   (See instructions):



02/3/2025                                                    /s/ Isaac Rabicoff
